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AO 450 (Rev. 5/85) Judgment in a Civil Case
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                                                   UNITED STATES DISTRICT COURT

                             WESTERN                         DISTRICT OF            NEW YORK

              MIRIAM McKNIGHT,
                                              Plaintiff,

                                              v.                                         JUDGMENT IN A CIVIL CASE


              G. VASIL,
                                              Defendant.
                                                                                       CASE NUMBER: 11-CV-6328-MWP


G             Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
              the jury has rendered its verdict.

X             Decision by Court. This action came to hearing before the Court. The issues have been heard and
              a decision has been rendered.

              IT IS ORDERED AND ADJUDGED that an award of compensatory damages is warranted and
              judgment is entered in favor of plaintiff Miriam McKnight against defendant Gregory Vasile in the total
              amount of $191,000 ($190,000 for her emotional and deprivation of liberty injuries and $1,000 for her
              compensable physical injuries) with prejudgment interest to be awarded at the rate of 9% per annum
              from March 30, 2017, through the entry of this judgment, with any post-judgment interest to be
              calculated pursuant to 28 U.S.C. § 1961; and,

              IT IS FURTHER ORDERED AND ADJUDGED that punitive damages are not justified.


              September 27, 2018                                              MARY C. LOEWENGUTH
              Date                                                                 Clerk of Court
                                                                               United States District Court




                                                                (By): s/John H. Folwell
                                                                      John H. Folwell
                                                                      Deputy Clerk
